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                        EXHIBIT 4
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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


 MONIQUE GRIMES, as Personal
 Representative of the Estate of
 DAMON GRIMES, Deceased,

                      Plaintiff,                    CASE NO. 17-cv-12860
 v.                                                 HON. GERSHWIN A. DRAIN

 TROOPER MARK BESSNER, et al.,

                Defendants.
 __________________________________/

       ORDER DENYING WITHOUT PREJUDICE MOTION FOR
  WITHDRAWAL [#59], GRANTING PLAINTIFF’S MOTION FOR LEAVE
    TO FILE SECOND AMENDED COMPLAINT [#61], TERMINATING
  JOSEPH T. FROEHLICH AS COUNSEL TO DEFENDANT BERGER AND
    SETTING BRIEFING SCHEDULE ON ORAL MOTION TO STRIKE

      I.     INTRODUCTION
           Presently before the Court is the Attorney General’s Office’s Motion to

 Withdraw as Counsel for Defendant Ethan Berger, filed on May 2, 2018. Plaintiff

 filed a Response in Opposition on May 16, 2018 and the Attorney General’s Office

 filed a Reply on May 23, 2018. Plaintiff filed a Supplemental Brief in Opposition

 on May 24, 2018. 1        On June 3, 2018, the Michigan State Police Troopers



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   At the hearing on this matter, the Attorney General’s Office orally moved to
 strike Plaintiff’s Supplemental Brief. The Court set a briefing schedule on the
 Attorney General’s Office’s oral motion. The Attorney General’s Office shall file
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 Association (“MSPTA”) filed an Amicus Curiae brief which includes the

 MSPTA’s statement of position on the Attorney General’s Office’s Motion to

 Withdraw. The MSPTA requests that the Court hold the Attorney General’s

 Office’s Motion to Withdraw in Abeyance until the conclusion of the arbitration

 proceedings, which will finally resolve the issues relative to Defendant Berger’s

 employment and the Attorney General’s Office’s representation of Defendant.

           A hearing on this matter was held on June 5, 2018. For the reasons that

 follow, the Court will deny without prejudice the Attorney General’s Office’s

 Motion to Withdraw. 2

     II.     FACTUAL BACKGROUND

           On December 28, 2017, the Attorney General’s Office filed a notice of

 appearance on behalf of Defendant Berger in the case of Grimes v. Berger, No.

 13580, which has been consolidated with the instant action. At that time, the

 Attorney General’s Office knew that Defendant Berger would not be criminally

 charged for his conduct during the incident giving rise to this action. Also, at that


 its brief no later than June 15, 2018. Plaintiff shall file her Response no later than
 June 22, 2018.
 2
   At the hearing, the Court inquired as to the Attorney General’s Office’s position
 regarding Plaintiff’s Motion for Leave to File Second Amended Complaint, which
 was filed on May 15, 2018. The Attorney General’s Office advised the Court that
 it had no opposition to Plaintiff’s request for leave to file a Second Amended
 Complaint. Because the Court has denied the Attorney General’s Office’s Motion
 to Withdraw, the Attorney General’s Office shall file a Response to Plaintiff’s
 Second Amended Complaint.
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 time, the action herein had been stayed pursuant to a request by the State of

 Michigan and the Michigan State Police (collectively “MSP”), through the

 Attorney General’s Office, pending the outcome of the criminal investigation of

 Defendants Mark Bessner and Berger.3

        Because the temporary stay was set to expire on December 28, 2017, the

 MSP, through the Attorney General’s Office, moved for an indefinite extension of

 the stay until the conclusion of Defendant Bessner’s criminal trial for second

 degree murder and involuntary manslaughter even though the Attorney General’s

 Office did not represent Defendant Bessner. On February 23, 2018, the Court

 denied the request for an indefinite stay.

        On March 27, 2018, the Court conducted a scheduling conference in this

 matter. At the conference, the Attorney General’s Office advised the Court that an

 internal affairs investigation of Defendant Berger’s conduct had been completed

 and proposed his termination from employment with the MSP as of March 20,

 2018. The Court was further advised that the Attorney General’s Office would




 3
   Defendant Bessner’s criminal trial charging him with second degree murder and
 two counts of manslaughter was recently adjourned and is now scheduled to
 commence on August 20, 2018. A final pretrial conference is set for June 8, 2018.
 See https://cmspublic.3rdcc.org/CaseDetail.aspx?CaseID=3654884. The MSPTA
 respectfully requests that the Court sua sponte stay these civil proceedings against
 Defendant Bessner until the conclusion of his criminal trial since neither Defendant
 Bessner nor his criminal attorney have sought a stay herein.
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 most likely seek to withdraw from representation. Apparently, on April 30, 2018,

 the Attorney General’s Office was directed to file a motion to withdraw.

        The MSPTA has filed a grievance concerning Defendant Berger’s proposed

 termination, as well as a grievance challenging the Attorney General’s Office’s

 withdrawal from representation. An arbitrator is set to hear both grievances on

 June 18, 2018. The MSPTA surmises that a final decision by the arbitrator could

 occur by October 1, 2018, or perhaps as early as mid-August.

        The Court entered a Scheduling Order in this matter on March 28, 2018.

 Discovery is due by October 27, 2018, dispositive motions are due by February 11,

 2019, and a jury trial is scheduled for July 9, 2019.

        Lastly, on May 22, 2018, the parties engaged in early facilitation.             In

 Plaintiff’s Supplemental Brief, she asserts various complaints concerning the

 conduct of counsel from the Attorney General’s Office. This filing is the subject

 of the Attorney General’s Office’s oral Motion to Strike raised during the hearing

 on this matter.


     III.     LAW & ANALYSIS
            It is within the discretion of the district court whether to permit an attorney

 to withdraw from representation of a client. Brandon v. Blech, 560 F.3d 536, 537

 (6th Cir. 2009). The Sixth Circuit has noted that while the “rules stop short of




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 guaranteeing a right to withdraw, they confirm that withdrawal is presumptively

 appropriate where the rule requirements are satisfied.” Id. at 538.

        Under this Court’s local rules, an attorney’s appearance continues until final

 resolution of all claims by or against the party represented, or until a withdrawal or

 substitution order has been entered. See E.D. Mich. L.R. 83.25(b)(1); (b)(2). The

 Court’s local rules further specify that the Rules of Professional Conduct adopted

 by the Michigan Supreme Court apply to members of the bar who appear in the

 Eastern District of Michigan. E.D. Mich. L.R. 83.22(b). Under Michigan’s Rules

 of Professional Conduct, an attorney may withdraw if withdrawal can be

 accomplished “without material adverse effect on the interests of the client, or if . .

 . other good cause for withdrawal exists.” M.R.P.C. 1.16(b)(6).

        Neither party has provided the Court with any authority—controlling or

 persuasive—that is on point with the factual circumstances herein. The Court has

 searched for authority, but has only found decisions focusing on withdrawal

 requests based on a client’s non-payment of fees pursuant to Rule 1.16(b)(4) as

 opposed to the catchall “other good cause” provision set forth in Rule 1.16(b)(6).

 These cases indicate that while the rules suggest that withdrawal is presumptively

 appropriate, “[t]here are, of course, several occasions when a district court ought to

 prohibit counsel from withdrawing.” Brandon, 560 F.3d at 538. Such instances

 may occur when attorneys “engage in strategically-timed or coercive behavior, like


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 waiting until a client is ‘over a barrel’ before demanding payment.” Id.

 Additionally, withdrawal may be appropriately denied if withdrawal “would work

 severe prejudice on the client or third parties.” Id. However, leaving a client

 without counsel does not amount to severe prejudice if the case is inactive, with no

 imminent deadlines and ample time remains for the client to retain new counsel.

 Id.; see also King v. Curtis, 610 F. App’x 534, *539 (6th Cir. May 7, 2015) (noting

 that “leav[ing] a client without representation—absent something more—does not

 constitute severe prejudice.”). The Court will consider the parties’ arguments with

 these principles in mind.

        The Attorney General’s Office maintains that good cause for permitting

 withdrawal exists, namely that Defendant Berger, the Court and the Plaintiff’s

 counsel were all informed at the outset of this matter that the Attorney General’s

 Office’s involvement was provisional.        Since Defendant Berger has been

 terminated from his employment consistent with applicable civil service rules and

 the collective bargaining agreement, withdrawal should be permitted. Lastly, the

 Attorney General’s Office notes that the complaint has been answered, initial

 discovery has been exchanged and the parties have conducted an early facilitation.

 As such, any prejudice to Defendant Berger can be addressed by the Court in a

 modified scheduling order.




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        Plaintiff counters that the Attorney General’s Office has failed to

 demonstrate good cause for withdrawal. She argues that this is the Office’s latest

 attempt to avert justice for the Estate of Damon Grimes and the fact that the

 Attorney General seeks to withdraw after rendering Defendant Berger jobless and

 without income to afford private counsel is callous and deplorable.            Plaintiff

 further asserts that pursuant to the applicable Collective Bargaining Agreement

 (“CBA”), once a determination has been made to provide representation to an

 employee, the Attorney General’s Office is bound by that determination. Plaintiff

 relies on section 12 of the CBA, which states in relevant part:

        Whenever any civil action is commenced against any employee
        alleging negligence or other actionable conduct, if the employee was
        in the course of employment at the time of the alleged conduct and
        had a reasonable basis for believing that the conduct was within the
        scope of the authority delegated to the employee, the Employer shall,
        at its option, pay for or engage or furnish the services of an attorney to
        advise the employee as to the claim and to appear for and represent
        the employee in the action.

 See Plf.’s Resp., Ex. 1 at Pg ID 662. Plaintiff asserts that basic principles of

 contract interpretation preclude the relief sought herein, that is, nothing in the

 CBA’s language permits the MSP to issue a reservation of rights letter or rescind

 its decision to provide counsel.

        Here, while the Court declines to find persuasive Plaintiff’s argument

 concerning contract interpretation, nor its reliance on case law concerning

 withdrawal in the criminal context, see United States v. Mack, 258 F.3d 548 (6th

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 Cir. 2001), the Court nonetheless concludes that the Attorney General’s Office has

 failed to establish good cause for the relief it seeks.      The Sixth Circuit has

 indicated that “attorneys may forfeit the right to withdraw when they engage in

 strategically-timed or coercive behavior . . . .” Brandon, 560 F.3d at 538.         It

 appears to the Court that from the outset of the instant proceedings, the Attorney

 General’s Office has engaged in strategically-timed behavior to represent the

 interests of Trooper Berger in defending him on the claims brought by Plaintiff.

        The Attorney General’s Office has taken the position throughout the instant

 proceedings that the Plaintiff prematurely filed the instant action because she did

 not wait for the MSP’s and the criminal justice system’s investigations, which

 ignores our system of justice and an individual’s right to file a lawsuit at the point

 a constitutional violation has occurred.       Moreover, it appears the Attorney

 General’s Office is engaging in conduct that warrants a forfeiture of the

 presumptive right to withdraw, at least at this juncture of the proceedings.

        At the time that the Attorney General’s Office agreed to represent Defendant

 Berger, it was aware that he would not be criminally charged and that the MSP’s

 internal investigation had not yet concluded.       The Attorney General’s Office

 apparently intended to withdraw if the internal affairs’ investigation did not result

 favorably to Defendant Berger, or when Defendant Berger would be unable to

 secure substitute counsel due to a lack of income. This conduct has, in essence,


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  left Defendant Berger defenseless. Such conduct not only leaves Defendant Berger

  severely prejudiced because discovery is ongoing in this matter, but also inevitably

  causes further harm to the Plaintiff who has already been subjected to delay in the

  instant proceedings. See KCI United States, Inc. v. Healthcare Essentials, Inc.,

  No. 1:14CV549, 2018 U.S. Dist. LEXIS 47438, *5-6 (N.D. Ohio Mar. 21, 2018)

  (denying motion to withdraw because “withdrawal would severely burden the

  litigants in this lawsuit” including the defendant because the court lacked any

  indication that he “possesses the knowledge or ability to prepare his case pro se or

  effectively represent himself during the remainder of the lawsuit.”). Such conduct

  is also at odds with the Rules of Professional Conduct, which advise that, “[a]

  lawyer should not accept representation in a matter unless it can be performed

  competently, promptly, without improper conflict of interest and to completion.”

  M.R.P.C. 1.16, comment (emphasis supplied).

        Additionally, the Court finds the argument advanced by the MSPTA to be

  persuasive. There is no good faith basis for the Attorney General’s Office to be

  permitted to withdraw at this juncture when there is a possibility that the arbitrator

  will reverse the decision to deny Defendant Berger representation. Such a decision

  could occur as early as mid-August or no later than early October. Even if the

  Attorney General’s Office’s decision to deny representation is upheld, it has




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  advanced no prejudice stemming from continued representation of Defendant

  Berger from today’s date through early October of this year.

        This case is not inactive and discovery will close on October 27, 2018, or

  very near to the time that the arbitrator will issue his decision.         As such,

  withdrawal at this juncture will require additional delay occasioned, once again, by

  the Attorney General’s Office. It will prejudice Defendant Berger who will be

  forced to either find and pay substitute counsel with no current income or to

  proceed without the benefit of counsel without any apparent ability to effectively

  represent his interests herein.

        Withdrawal will also severely prejudice the Plaintiff, who has already been

  subjected to a stay in these proceedings at the request of the Attorney General’s

  Office, which at the time of its request, was not a party to the instant proceedings,

  nor did it represent Defendant Berger or any party in the litigation.   KCI United

  States, 2018 U.S. Dist. LEXIS 47438, at *6 (denying withdrawal because “the

  current stage of litigation suggests that counsel’s “withdrawal will likely have an

  irreparable and unavoidable prejudicial effect on Plaintiff” where the “case has

  been ongoing for a substantial length of time and is at a critical stage[,]” thus,

  “judicial economy and efficiency would be negatively impacted by any further

  delay in the case.”).




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        Lastly, in addition to failing to satisfy the catchall “good cause” provision

  set forth in M.R.P.C. 1.16(b)(6), the Court notes that counsel, as an employee of

  the Attorney General’s Office, is a salaried employee whose continued

  representation will not impact his livelihood. This circumstance separates this case

  from those where withdrawal is presumptive and permitted upon satisfaction of the

  Rules of Professional Conduct.

     IV.   CONCLUSION

        For the reasons articulated above, the Attorney General’s Motion to

  Withdraw [#59] is DENIED WITHOUT PREJUDICE.                     Because Joseph T.

  Froelich has left the Attorney General’s Office for private practice, his

  representation of Defendant Berger is HEREBY TERMINATED.

        Plaintiff’s Motion for Leave to File Second Amended Complaint [#61] is

  GRANTED. Plaintiff shall file her Second Amended Complaint forthwith. The

  Attorney General’s Office shall file Defendant Berger’s Answer to the Second

  Amended Complaint in accordance with the applicable Federal Rules of Civil

  Procedure.

        The Attorney General’s Office shall file a brief in support of its oral Motion

  to Strike no later than June 15, 2018. Plaintiff shall file her Response no later than

  June 22, 2018.

        SO ORDERED.


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  Dated: June 7, 2018                               /s/Gershwin A. Drain
                                                    GERSHWIN A. DRAIN
                                                    United States District Judge


                            CERTIFICATE OF SERVICE

             Copies of this Order were served upon attorneys of record on
                  June 7, 2018, by electronic and/or ordinary mail.
                                  /s/ Tanya Bankston
                                      Deputy Clerk




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